Case 8:21-cv-00069-WFJ-TGW Document1 Filed 01/11/21 Page 1 of 14 PagelD 1

- 2 ’

 

1! 7. 4,9

UNITED STATES DISTRICT COURT es

MIDDLE DISTRICT OF FLORIDA ices we) ae cee Pie
TAMPA DIVISION . See BO
Aethe —- J. Tolan O . Ltf J .
Coviceny wate : fo com ATV Ang App WC nf REL + Coll /E*X
Plaintiff /

Title Yt ConA Leh Let CASE NUMBER: 3 w\ ce V eA lo ee TSEW

 

beckon $0! # A ahebebealee he ;
7Ithe If” Genebc makin “Ton donitemmmeds a. ed
" Lovuss de > of
fase Master Cx wat ;
United tit, Pe ge herntul aoe OG CA ad

 

Defendant
Ge weak VES: 20/GCEVEE! LACMFGOONCE2

Agency hol. Ff he *32¢ +0 6 1
Yb C- ~£2¥~ cot F -/G
AG® — PAY O° =r?

; Z
Jy¥ol 26 Th lind. At
bh Peles tp FL. 83705"

Fimil § OS PS 02 277478 @ penal Com

jf adthbres
Case 8:21-cv-00069-WFJ-TGW Document1 Filed 01/11/21 Page 2 of 14 PagelD 2

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
Office of Federal Operations
P.O. Box 77960
Washington, DC 20013

 

Anthony J. Tulino a/k/a
Junior T.!
Complainant,

Vv.

Louis DeJoy,
Postmaster General,
United States Postal Service,
“ Agency.

Appeal Nos. 2019004061 and 2019004062
Hearing No. 510-2017-00412X
Agency Nos. 1G-324-0008-18 and 1G-324-0003-17
DECISION

On May 27, 2019, Complainant filed two appeals with the Equal Employment Opportunity
Commission (EEOC or Commission), pursuant to 29 C.F.R. § 1614.403(a), from the Agency’s
final decisions dated April 29, 2019 and May 17, 2019, concerning his equal employment
opportunity (EEO) complaints alleging employment discrimination in violation of Title VII of the
Civil Rights Act of 1964 (Title VII), as amended, 42 U.S.C. § 2000e et seq., Section 501 of the
Rehabilitation Act of 1973 (Rehabilitation Act), as amended, 29 U.S.C. § 791 et seq., the Age
Discrimination in Employment Act of 1967 (ADEA), as amended, 29 U.S.C. § 621 et seq., and
Title II of the Genetic Information Nondiscrimination Act of 2008, 42 U.S.C. § 2000ff et seq.

While the appeals were separately docketed, the Commission miay, in its discretion, consolidate
two or more complaints of discrimination filed by the same complainant. See 29 C.F.R.
§ 1614.606. Accordingly, the Commission exercises its discretion to consolidate the appeals
herein. For the following reasons, the Commission AFFIRMS the Agency’s final decisions.

 

' This case has been randomly assigned a pseudonym which will replace Complainant’s name
when the decision is published to non-parties and the Commission’s website.
Case 8:21-cv-00069-WFJ-TGW Document1 Filed 01/11/21 Page 3 of 14 PagelD 3

2 2019004061 & 2019004062
ISSUE PRESENTED

The issue presented is whether Complainant has shown by a preponderance of the evidence that
the Agency subjected him to discrimination and a hostile work environment based on his race,
national origin, color, genetic information, disability, age, and in reprisal for his protected EEO
activity.

BACKGROUND

At the time of events giving rise to this complaint, Complainant worked as an Electronic
Technician at the Agency’s Processing and Distribution Center in West Palm Beach, Florida.

Complainant alleged that the Manager of Maintenance Operation (RMO1’, East Indian, brown,
Guyanese, over 40), the Manager of Maintenance (RMO2, African American, light brown,
American, over 40), and the Supervisor of Maintenance Operations (RMO3, Black American,
black, African American, over 40) harassed and discriminated against him in the following two
complaints. Additionally, Complainant asserted that another Manager of Maintenance Operations
(RMO4, Caucasian, white, American, over 40) also discriminated against him in Complaint 2.

Agency No, 1G-324-0003-17 (“Complaint 1”)

On February 16, 2017, Complainant filed an EEO complaint alleging that the Agency subjected
him to a hostile work environment and discriminated against him on the bases of race (Caucasian),
national origin (Italian), color (white), genetic information? (non-A frican, or non-Hispanic), and,
disability (hearing impairment), when:

1. on December 12, 2016, Complainant was issued a letter of warning for
unsatisfactory performance; and,

2. on dates to be specified, RMOI1 harassed, singled him out, and verbally
reprimanded him on the workroom floor.

The investigative record reflects the following pertinent matters relating to the subject claims.
Complainant asserted that RMO1 issued him the December 12, 2016 Letter of Warning (LOW)*

 

? Responsible Management Official (RMO).

3Complainant asserted that he was discriminated against under the Genetic Information
Nondiscrimination Act of 2008 (GINA) because he is non-Hispanic and Non-African. However,
it appears that Complainant was asserting discrimination due to national origin. There is no
allegation that Complainant, or any of his family members, were subjected to genetic tests, or was
required to provide medical histories as part of his employment.

4 This was later settled during a grievance procedure. The LOW was kept on file for one year.
+

Case 8:21-cv-00069-WFJ-TGW Document1 Filed 01/11/21 Page 4 of 14 PagelD 4

3 2019004061 & 2019004062

alleged in claim 1, based on a personal, private matter between the two of them, and not his
performance. The record demonstrated that the LOW was issued jointly by RMO1 and RMO3.
The LOW was issued due to an incident which occurred on November 11, 2016. The LOW detailed
that on that date, Complainant failed to follow standard operating procedures when he
misdiagnosed a machinery malfunction, failed to notify a supervisor of the malfunction within the
required fifteen-minute window, and then failed to follow instructions regarding repairs.

Regarding claim 2, Complainant provided several dates and examples which he stated
demonstrated RMO1’s harassment. The incidents regarded various incidents typically involving
Complainant’s performance while attending to a repair. The Agency detailed and responded to
each incident listed.

RMO1, RMO2, and RMO3 stated that they were aware of Complainant’s hearing impairment but
stated that Complainant did not have any workplace limitations regarding his hearing impairment.
Management noted that there was documentation regarding Complainant’s asthma, but that he did
not have any limitations due to his asthma’. There is no documentation that Complainant requested
a reasonable accommodation due to his hearing or asthma. The record did contain documentation
of Family and Medical Leave Act (FMLA) paperwork regarding Complainant’s asthma, but not
regarding his hearing. The record does not contain any requests for a reasonable accommodation
due to his hearing or his asthma.

Agency No. 1G-324-0008-18 (“Complaint 2”)

On March 6, 2018, Complainant filed a second EEO complaint alleging that the Agency subjected
him to a hostile work environment and discriminated against him on the bases of race (Caucasian),
color (White), age (66), disability (hearing impairment, asthma, arthritis, torn rotator cuff,
allergies) and reprisal for prior protected EEO activity since June 12, 2017, and continuing, when:

1. on dates to be specified, Complainant’s coworker (CW 1) belittled him; made false
statements against him; cursed and yelled at Complainant; invaded his personal
space; questioned his qualifications; hindered his work; and, talked negatively
about him to his coworkers;

2. on dates to be specified, RMO1 told Complainant that nobody likes him; that they
all talk about him behind his back; that supervisors gave him favorable ratings to
be rid of him; that he is perceived to be incompetent; and, that he is “weak in skill”;

 

> Complainant’s disability claim in Complaint 1 pertained to his hearing, but Complainant’s
asthma issues, were also discussed. Additionally, Complainant added other medical issues as part
of his disability discrimination claim in Complaint 2.
Case 8:21-cv-00069-WFJ-TGW Document1 Filed 01/11/21 Page 5 of 14 PagelID 5

4 2019004061 & 2019004062

3. on dates to be specified, RMO1 stalked him at work and admonished his work
performance in front of his coworkers and other supervisors;

4. on or around January 19, 2018, Complainant’s request to move to Tour 2 was
denied®; and,
5. on an unspecified date in 2018, Complainant became aware that management was

inputting incorrect or falsified information regarding his absences in his PS Form
3972 (Absence Analysis).

The investigative record reflects the following pertinent matters relating to the subject claims.
Complainant asserted that CW1 was generally hostile and belittling towards him. For example,
Complainant asserted that CW1 would yell over the radios for Complainant to fix something; that
CW1 would berate Complainant for attempting to consume shared food or coffee in a communal
area; that CW1 would lie and state that Complainant walked away from repair requests; that CW1
would curse at him; and generally, that CW1 would demean Complainant. The record
demonstrated that on February 22, 2018, an investigation was initiated by management based on
Complainant’s allegations of harassment. The investigation concluded that no corrective action
needed to be taken. One coworker attested that CW1 essentially called Complainant incompetent.
Six colleagues stated that Complainant performed poorly, and that others often had to complete
repairs that Complainant supposedly repaired or had misdiagnosed.

Complainant also asserted that RMO1 told him that no one liked him; that others frequently talked
about Complainant negatively; that people believed Complainant was incompetent at his job; and,
that management wanted to get rid of him. Complainant also noted that RMO1 frequently
admonished him in front of others, including an incident where RMO1 told him he was too slow
for the job, and that he would have another employee finish the repair. Complainant asserted that
he was publicly humiliated by all of these incidents. RMO1 acknowledged that he stated that
Complainant, and other technicians, lacked in some skills as they took longer than normal to repair
certain machines. However, RMO1 denied that the comment was made based on anything other
than performance-based observations. RMO1 denied inappropriately admonishing Complainant in
front of others or speaking inappropriately of him. He noted that he has had conversations with
Complainant, in the presence of other management officials, where they discussed Complainant’s
performance. He denied admonishing Complainant. RMO1 denied ever saying that the Agency
or management was trying to get rid of him, that no one liked him, or that he was incompetent.

Regarding a reasonable accommodation, Complainant asserted that he requested a microphone be
attached to the radios so that he could hear calls better. Complainant asserted that RMO1 and
RMO2 denied his microphone requests. However, both supervisors denied receiving such a
request. The Agency noted that there was nothing on file that demonstrated this request.

 

® Complainant later testified that he did not believe that the denial of his request was discriminatory
or had anything to do with his protected classes or Complaint.
Case 8:21-cv-00069-WFJ-TGW Document1 Filed 01/11/21 Page 6 of 14 PagelD 6

5 2019004061 & 2019004062

The Agency noted that what was on file was provided after Complainant filed his formal complaint
and after the formal investigation was completed. Additionally, the Agency stated that the medical
note provided made no specific mention of attaching a microphone to the radios to assist
Complainant.’ RMO1 stated that Complainant had previously informed him that he occasionally
forgot to wear his hearing aids or change the batteries in them. However, RMO1 did not receive
any informal or formal requests to accommodate Complainant based on his hearing. Complainant
also noted that stress from work exacerbated his asthma, but medical documentation regarding his
asthma, dated January 11, 2017, does not provide clinical findings to support this. The medical
documentation only repeats Complainant’s belief that some of his asthma issues appeared to be
due to workplace stress.

Regarding the tour change, Complainant stated that he attempted to move to Tour 2 as a Building
Equipment Mechanic (BEM). However, Complainant stated that the request was denied. RMO1
stated that he passed Complainant’s request to RMO4. It was noted that while there were openings
for a BEM, Complainant was not on the BEM register, and therefore would not be approved.
Lastly, Complainant noted that he applied for a transfer to the Manasota Processing and
Distribution Center. This transfer request was denied based on his time and attendance problems.
Complainant asserted that RMO1 and RMO3 were purposefully inputting incorrect information in
order to make him look bad. Specifically, that management inputted his FMLA leave requests
incorrectly. The Human Resources Department reviewed the matter and informed Complainant of
the results. Specifically, FMLA was applied several times through the years, but not for every
absence. HR stated that this was due to Complainant’s documentation. Not every absence was
considered an FMLA protected absence because the documentation was either insufficient to
establish eligibility, and/or because Complainant did not indicate the leave was for FMLA.

Hearing Requests for Complaint 1 and Complaint 2

The record demonstrates that the hearing requests for both complaints were, at some point,
consolidated. Additionally, while Complainant initially requested a hearing, on March 21, 2019,
the Administrative Judge (AJ) remanded the complaints to the Agency for the issuance of a final
Agency decision based on Complainant’s failure to comply with six of the AJ’s orders regarding
his hearing. The Agency issued two final decisions pursuant to 29 C.F.R. § 1614.110(b). The
Agency concluded that Complainant failed to prove that the Agency subjected him to
discrimination as alleged.

CONTENTIONS ON APPEAL
On appeal, Complainant contends that the Agency repeatedly refused to grant him reasonable

accommodations. For example, Complainant asserted that management was aware of his hearing
impairment, and yet he was never accommodated, and actually was disciplined for not answering

 

’ The doctor’s note dated August 22, 2018, states that Complainant has significant hearing loss,
and would benefit from any hearing assistance that could be provided. The Agency’s final decision
incorrectly listed the doctor’s note as being dated April 20, 2018.
Case 8:21-cv-00069-WFJ-TGW Document1 Filed 01/11/21 Page 7 of 14 PagelD 7

6 2019004061 & 2019004062

repair calls. Complainant also asserted that it was widely known that he was targeted for
harassment, and yet no actions were ever taken to remedy the situation.

Complainant also asserted that the AJ’s decision to dismiss his hearing request was overly harsh.
Complainant asserted that he followed the AJ’s orders to the best of his ability. Complainant
requested that the Commission provide him with a hearing. Complainant also noted that he needed
legal assistance and inquired about having an attorney assigned to assist him.

In response, the Agency asserted that Complainant failed to establish a prima facie case of
discrimination and discriminatory harassment. The Agency asserted that management had
previously articulated legitimate, non-discriminatory reasons for their actions and there is no
evidence the reasons articulated are pretext to mask unlawful discrimination. Accordingly, the
Agency requested that the Commission affirm the Final Agency Decisions and find no
discrimination in either matter.

STANDARD OF REVIEW

As this is an appeal from a decision issued without a hearing, pursuant to 29 C.F.R. § 1614.110(b),
the Agency’s decision is subject to de novo review by the Commission. 29 C.F.R. § 1614.405(a).
See Equal Employment Opportunity Management Directive for 29 C.F.R. Part 1614, at Chapter 9,
§ VLA. (Aug. 5, 2015) (explaining that the de novo standard of review “requires that the
Commission examine the record without regard to the factual and legal determinations of the
previous decision maker,” and that EEOC “review the documents, statements, and testimony of
record, including any timely and relevant submissions of the parties, and . . . issue its decision
based on the Commission’s own assessment of the record and its interpretation of the law”).

ANALYSIS AND FINDINGS
Sanction

The Commission’s regulations afford broad authority for the conduct of hearings by
Administrative Judges. See 29 C.F.R. § 1614.109 et seq.; Rountree v. Dep’t of Treasury, EEOC
Appeal No. 07A00015 (July 17, 2001). When a complainant or agency fails to comply with an
AJ’s order, an AJ may take action against the noncomplying party pursuant to 29 C.F.R. §
1614.109(f)(3), up to and including issuing a decision in favor of the opposing party. See 29
C.F.R. § 1614.109(f}(3)(iv). Sanctions must be tailored in each case to appropriately address the
underlying conduct of the party being sanctioned. See Hale v. Dep’t of Justice, EEOC Appeal No.
01A03341 (Dec. 8, 2000). A sanction may be used to deter the noncomplying party from similar
conduct in the future, as well as to equitably remedy the opposing party. Id.

Specifically, our regulations provide that where a party, inter alia, fails to respond to an order of
an AJ, the AJ may, as appropriate, take action against the non-complying party pursuant to 29
C.F.R. § 1614.109(f)(3), i.c., an AJ may: (1) draw an adverse inference that the requested
information would have reflected unfavorably on the non-complying party; (2) consider the
Case 8:21-cv-00069-WFJ-TGW Document1 Filed 01/11/21 Page 8 of 14 PagelD 8

7 2019004061 & 2019004062

requested information to be established in favor of the opposing party; (3) exclude other evidence
offered by the non-complying party; (4) issue a decision fully or partially in favor of the opposing
party; or (5) take other action deemed appropriate, e.g., payment of costs and expenses by the non-
complying party. Id.

Considering the record, we find that AJ’s dismissal of the hearing request, as a sanction, was
narrowly tailored to what was objectively believed as Complainant’s failure to follow orders.
Based on the information and documentation that was before the AJ, we find the AJ’s issuance of
the sanction was not an abuse of discretion.

Disparate Treatment

Complainant alleges that he was subjected to disparate treatment. A claim of disparate treatment
is examined under the three-part analysis first enunciated in McDonnell Douglas Corp. v. Green,
411 U.S. 792 (1973). For a complainant to prevail, he must first establish a prima facie case of
discrimination by presenting facts that, if unexplained, reasonably give rise to an inference of
discrimination, i.e., that a prohibited consideration was a factor in the adverse employment action.
McDonnell Douglas, 411 U.S. at 802, n. 13; Furnco Construction Corp. v. Waters, 438 U.S. 567
(1978). The burden then shifts to the agency to articulate a legitimate, nondiscriminatory reason
for its actions. Tx. Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 253 (1981). Once the agency
has met its burden, the complainant bears the ultimate responsibility to persuade the fact finder by
a preponderance of the evidence that the agency acted on the basis of a prohibited reason. St.
Mary's Honor Ctr. v. Hicks, 509 U.S. 502 (1993).

 

 

This established order of analysis in discrimination cases, in which the first step normally consists
of determining the existence of a prima facie case, need not be followed in all cases. Where the
agency has articulated a legitimate, nondiscriminatory reason for its actions, the factual inquiry
can proceed directly to the third step of the McDonnell Douglas analysis, the ultimate issue of
whether complainant has shown by a preponderance of the evidence that the agency’s actions were
motivated by discrimination. U.S. Postal Serv. Bd. of Governors v. Aikens, 460 U.S. 711, 713-714
(1983).

For his claim of reprisal, Complainant must show that: (1) he engaged in a protected activity; (2)
the agency was aware of the protected activity; (3) subsequently, he was subjected to adverse
treatment by the agency; and (4) a nexus exists between the protected activity and the adverse
treatment. Whitmire v. Dep’t of the Air Force, EEOC Appeal No. 01A00340 (Sept. 25, 2000).

With respect to Complainant’s disparate treatment claims, assuming arguendo, that Complainant
established a prima facie case based on his protected classes® and in reprisal for his protected EEO
activity, the Agency has articulated legitimate, nondiscriminatory reasons for its actions.

 

8 For the purposes of analysis, we assume Complainant is an individual with a disability. 29 C.F.R.
§ 1630.2(g)(1).
Case 8:21-cv-00069-WFJ-TGW Document1 Filed 01/11/21 Page 9 of 14 PagelD 9

8 2019004061 & 2019004062

In this matter, Complainant’s allegations concern general workplace matters, such as: performance
feedback on repairs; notations on the speed, efficiency, and effectiveness of his repairs; and
following standard protocols and procedures when machinery malfunctioned. In each of the
several incidents detailed, the Agency has provided legitimate, nondiscriminatory reasons. For
example, Complainant asserted that he was targeted for disciplinary action when on December 12,
2016, he was issued a Letter of Warning (LOW). The record demonstrated RMO1 and RMO3
jointly issued the LOW following Complainant’s poor performance during a November 11, 2016
incident. Specifically, that Complainant failed to timely inform management that a machine
malfunctioned, waited longer than the standard 15 minutes to inform management, then
misdiagnosed the malfunction. RMO1 noted that the failure to notify management can have a
domino effect and it is, therefore, essential that management is put on notice when machinery
malfunctions.

Complainant also noted that he was denied a tour change based on his protected classes and in
reprisal. However, the record demonstrated that Complainant was attempting to shift positions,
and as he is not registered to be a BEM, the position change request was denied. Complainant also
argued that several of his FMLA leave requests were improperly entered. Here, there is no record
that various management officials purposefully entered Complainant’s leave requests improperly
in order to make him look like a frequently absent employee. The record demonstrated that an HR
official reviewed all the records and dates, as requested by Complainant, and noted that several
dates were listed as FMLA approved. The HR official noted that other dates that were not listed
as FMLA were due to insufficient paperwork demonstrating that it was eligible FMLA leave, or
because Complainant did not mark it as such.

As the employer, the Agency has broad discretion to determine how best to manage its operations
and may make decisions, including personnel decisions, on any basis except a basis that is unlawful
under the discrimination statutes. Furnco Construction Corp. v. Waters, 438 U.S. 567 (1978);
Texas Dep't. of Cmty. Affairs v. Burdine, 450 U.S. 248, 253 (1981). An employer is entitled to
make its own business judgments. The reasonableness of the employer's decision may, of course,
be probative of whether it is pretext. Therefore, our analysis focuses on the Agency's motivation,
not its business judgment. Loeb v. Textron, Inc., 600 F.2d 1003, 1012 n.6 (Ist Cir. 1979). In other
words, it is not the function of this Commission to substitute its judgment for that of management
officials who are familiar with the needs of their facility, and who are in a better position to make
decisions, unless other facts suggest that proscribed considerations of bias entered the decision-
making process. Shapiro v. Soc. Sec. Admin., EEOC Request No. 05960403 (Dec. 6, 1996). Based
on the record, there is no persuasive evidence to demonstrate that management’s actions were
motivated by discriminatory or retaliatory animus.

 

Reasonable Accommodation

In order to establish a prima facie case of disability discrimination under the Rehabilitation Act, a
complainant must demonstrate that he is an “individual with a disability” within the meaning of
the Act. An “individual with a disability” is defined as one who: 1) has a physical or mental
impairment that substantially limits one or more of the major life activities of such individual; 2)
Case 8:21-cv-00069-WFJ-TGW Document1 Filed 01/11/21 Page 10 of 14 PagelD 10

9 2019004061 & 2019004062

has a record of such impairment; or 3) is regarded as having such an impairment. 29 C.F.R. §
1630.2(g). Major life activities include, but are not limited to, “functions such as caring for oneself,
performing manual tasks, walking, seeing, hearing, speaking, breathing, learning, and
working.” 29 C.F.R. § 1630.2(i). The Interpretive Guidance to the regulations further notes that
“other major life activities include, but are not limited, to, sitting, standing, lifting, and
reaching.” 29 C.F.R. Part 1630 Appendix § 1630.2(j).

A qualified individual with a disability is an individual with a disability who satisfies the requisite
skill, experience, education, and other job-related requirements of the employment position such
individual holds or desires, and who, with or without reasonable accommodation, can perform the
essential functions of such position. 29 C.F.R. § 1630.2(m).

Under the Commission’s regulations, federal agencies may not discriminate against individuals
with disabilities. The Agency is required to make reasonable accommodation for the known
physical and mental limitations of qualified individuals with disabilities, unless the Agency can
show that reasonable accommodation would cause an undue hardship. 29 C.F.R. §§ 1630.2
(o) and (p); EEOC Enforcement Guidance on Reasonable Accommodation and Undue Hardship
under the Americans with Disabilities Act (Enforcement Guidance on Reasonable
Accommodation), EEOC Notice No. 915.002 (Oct. 17. 2002); Barney G. v. Department_of
Agriculture, EEOC Appeal No. 0120120400 (December 3, 2015). Reasonable accommodation
may include making facilities accessible, job restructuring, modifying work schedules, and other
similar actions. Dennis v. Department of Education, EEOC Appeal No. 0120090193 (June 15,
2010); Spence v. Nuclear Regulatory Commission, EEOC Appeal No. 0120041082 (August 2,
2007), request for reconsideration denied, EEOC Request No. 0520070907 (July 9, 2008).

A request for a modification or change at work because of a medical condition is a request for
reasonable accommodation. See Enforcement Guidance on Reasonable Accommodation at
Question 1. After receiving a request for reasonable accommodation, an agency “must make a
reasonable effort to determine the appropriate accommodation.” 29 C.F.R. Part 1630, App.
§ 1630.9. Thus, “it may be necessary for the [agency] to initiate an informal, interactive process
with the individual with a disability . . . [to] identify the precise limitations resulting from the
disability and potential reasonable accommodations that could overcome those limitations.” 29
C.F.R. § 1630.2(0)(3); see also 29 C.F.R. Part 1630, App. § 1630.9; Enforcement Guidance on
Reasonable Accommodation at Question 5.

 

Regarding any potential reasonable accommodation requests, there is also nothing in the record to
demonstrate that Complainant had requested any accommodation for his hearing, his asthma, and
other listed disabilities prior to the filing of his formal complaints. As such, we conclude that
Complainant has not demonstrated that the Agency violated the Rehabilitation Act.

Regarding Complainant’s August 22, 2018 medical note provided to the Agency after the formal
investigation closed, we note that the medical documentation states that Complainant is hearing
impaired. Furthermore, the August 22, 2018 note states that Complainant “would greatly benefit
from any hearing assistance that could be provided to him.”
Case 8:21-cv-00069-WFJ-TGW Document 1 Filed 01/11/21 Page 11 of 14 PagelD 11

10 2019004061 & 2019004062

In consideration, we determine that this note is the first time Complainant has put the Agency on
notice of his need for a reasonable accommodation regarding his hearing. We remind the Agency
of its obligations under the Rehabilitation Act. In addition, we remind Complainant that if he has
been denied a reasonable accommodation, he should contact the Agency’s EEO Office.

Unlawful Harassment

In his harassment claim, in addition to the incidents discussed above, Complainant generally
alleged that management subjected him to a hostile work environment when his complaints of
workplace harassment went unheard, and when he was verbally reprimanded on the work room
floor. We find that under the standards set forth in Harris v. Forklift Systems, Inc., 510 U.S. 17
(1993), that Complainant's claim of a hostile work environment must fail. See Enforcement
Guidance on Harris v. Forklift Systems, Inc., EEOC Notice No. 915.002 (Mar. 8, 1994). To prove
his harassment claim, Complainant must establish that he was subjected to conduct that was either
so severe or so pervasive that a “reasonable person” in Complainant’s position would have found
the conduct to be hostile or abusive. Complainant must also prove that the conduct was taken
because of a protected basis — in this case, his race, color, national origin, genetic information,
disability, and in reprisal. Only if Complainant establishes both of those elements — hostility and
motive — will the question of Agency liability present itself.

Furthermore, a finding of a hostile work environment is precluded by our determination that
Complainant failed to establish that any of the actions taken by the Agency were motivated by
discriminatory animus. See Oakley v. U.S. Postal Serv., EEOC Appeal No. 01982923 (Sept. 21,
2000). As already concluded above, there is no evidence to support a finding that Complainant’s
protected bases or EEO activity played any role whatsoever in the Agency’s actions.

Moreover, the responsible management officials provided legitimate, non-discriminatory
explanation for its actions. For example, the variety of incidents listed by Complainant as harassing
incidents were all incidents of general work place matters, such as the importance of reporting out-
of-service machinery, and efficiency and effectiveness of repairs. We note that the discrimination
statutes do not shield a complainant from a myriad of petty slights and annoyances. Rizzo v U.S.
Postal Serv., EEOC Appeal No. 01A53970 (Aug. 29, 2005). Not every unpleasant or undesirable
act which occurs in the workplace constitutes an EEO violation. See Shealey v. Equal Emp’t
Opportunity Comm’n, EEOC Appeal No. 0120070356 (Apr. 18, 2011) (citing Epps v. Dep’t of
Transp., EEOC Appeal No. 0120093688 (Dec. 19, 2009)). The Commission also recognizes that
ordinary managerial and supervisory duties include assuring compliance with agency policy and
procedures, monitoring subordinates, scheduling the workload, scrutinizing and evaluating
performance, providing job-related advice and counsel, taking action in the face of performance
shortcomings, and to otherwise manage the workplace. Erika H. v. Dep’t of Transp., EEOC Appeal
No. 0120151781 (June 16, 2017). In sum, Complainant failed to prove that his protected classes
or EEO activity played any role in the incidents he proffered as evidence of his harassment claim.
Case 8:21-cv-00069-WFJ-TGW Document 1 Filed 01/11/21 Page 12 of 14 PagelD 12

11 2019004061 & 2019004062
CONCLUSION

Based on a thorough review of the record and the contentions on appeal, including those not
specifically addressed or referenced herein, we AFFIRM the Agency’s findings that it did not
discriminate or retaliate against Complainant as alleged in Complaint] and Complaint2.

STATEMENT OF RIGHTS - ON APPEAL
RECONSIDERATION (M0620)

The Commission may, in its discretion, reconsider this appellate decision if the complainant or the
agency submits a written request that contains arguments or evidence that tend to establish that:

1. The appellate decision involved a clearly erroneous interpretation of material fact or
law; or

2. The appellate decision will have a substantial impact on the policies, practices, or
operations of the agency.

Requests for reconsideration must be filed with EEOC’s Office of Federal Operations (OFO)
within thirty (30) calendar days of receipt of this decision. If the party requesting reconsideration
elects to file a statement or brief in support of the request, that statement or brief must be filed

together with the request for reconsideration. A party shall have twenty (20) calendar days
from receipt of another party’s request for reconsideration within which to submit a brief or
statement in opposition. See 29 C.F.R. § 1614.405; Equal Employment Opportunity Management
Directive for 29 C.F.R, Part 1614 (EEO MD-110), at Chap. 9 § VII-B (Aug. 5, 2015).

Complainant should submit his or her request for reconsideration, and any statement or brief in
support of his or her request, via the EEOC Public Portal, which can be found at
https://publicportal.eeoc.gov/Portal/Login.aspx.

 

Alternatively, complainant can submit his or her request and arguments to the Director, Office of
Federal Operations, Equal Employment Opportunity Commission, via regular mail addressed to
P.O. Box 77960, Washington, ‘DC 20013, or by certified mail addressed to 131 M Street, NE,
Washington, DC 20507. In the absence of a legible postmark, complainant’s request to reconsider
shall be deemed timely filed if OFO receives it by mail within five days of the expiration of the
applicable filing period. See 29 C.F.R. § 1614.604.

An agency’s request for reconsideration must be submitted in digital format via the EEOC’s
Federal Sector EEO Portal (FedSEP). See 29 C.F.R. § 1614.403(g). Either party’s request and/or
statement or brief in opposition must also include proof of service on the other party, unless
complainant files his or her request via the EEOC Public Portal, in which case no proof of service
is required.
+

Case 8:21-cv-00069-WFJ-TGW Document1 Filed 01/11/21 Page 13 of 14 PagelD 13

12 2019004061 & 2019004062

Failure to file within the 30-day time period will result in dismissal of the party’s request for
reconsideration as untimely, unless extenuating circumstances prevented the timely filing of the
request. Any supporting documentation must be submitted together with the request for
reconsideration. The Commission will consider requests for reconsideration filed after the
deadline only in very limited circumstances. See 29 C.F.R. § 1614.604(c).

COMPLAINANT’S RIGHT TO FILE A CIVIL ACTION (S0610)

You have the right to file a civil action in an appropriate United States District Court within ninety
(90) calendar days from the date that you receive this decision. If you file a civil action, you must
name as the defendant in the complaint the person who is the official Agency head or department
head, identifying that person by his or her full name and official title. Failure to do so may result
in the dismissal of your case in court. “Agency” or “department” means the national organization,
and not the local office, facility or department in which you work. If you file a request to reconsider
and also file a civil action, filing a civil action will terminate the administrative processing of
your complaint.

RIGHT TO REQUEST COUNSEL (Z0815)

If you want to file a civil action but cannot pay the fees, costs, or security to do so, you may request
permission from the court to proceed with the civil action without paying these fees or costs.
Similarly, if you cannot afford an attorney to represent you in the civil action, you may request the
court to appoint an attorney for you. You must submit the requests for waiver of court costs or
appointment of an attorney directly to the court, not the Commission. The court has the sole
discretion to grant or deny these types of requests. Such requests do not alter the time limits for
filing a civil action (please read the paragraph titled Complainant’s Right to File a Civil Action for
the specific time limits).

FOR THE COMMISSION:

Loe M. — adel

Office of Federal Operations

October 29, 2020
Date

 
ae Case 8:21-cv-00069-WFJ-TGW Document1 Filed 01/11/21 Page 14 of 14 PagelD 14

'

13 2019004061 and 2019004062
CERTIFICATE OF MAILING

For timeliness purposes, the Commission will presume that this decision was received within
five (5) calendar days after it was provided to the parties. I certify that on the date below this
decision was provided to the following recipients via the means identified for each recipient:

Anthony J. Tulino

1401 26th Avenue South
Saint Petersburg, FL 33705
Via U.S. Mail

U.S. Postal Service
NEEOISO - Appeals
U.S. Postal Service
Via FedSEP

October 29, 2020
Date

 

   
